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   AO 440 (Rev. 06/12) Summons in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                       for the
                                                          SouthernDistrict
                                                      __________   Districtofof__________
                                                                                Texas


                            Brittany Butler                              )
                                                                         )
                                                                         )
                                                                         )
                               Plaintiff(s)                              )
                                                                         )
                                   v.                                            Civil Action No.
                                                                         )
               Account Resolution Services, LLC                          )
                                                                         )
                                                                         )
                                                                         )
                              Defendant(s)                               )

                                                      SUMMONS IN A CIVIL ACTION

   To: (Defendant’s name and address) Account Resolution Services, LLC
                                              CORPORATION SERVICE COMPANY
                                              1201 HAYS STREET
                                              TALLAHASSEE FL 32301




             A lawsuit has been filed against you.

            Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
   are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
   P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
   the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
   whose name and address are: Michael B. Halla
                                              187 Rolling Court,
                                              Lancaster, Texas 75146




          If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
   You also must file your answer or motion with the court.



                                                                                    CLERK
                                                                                     NathanOF COURTClerk of Court
                                                                                            Ochsner,


   Date:
Date: September 15, 2021
                                                                                              Signature of Clerk or Deputy Clerk
                                                                                      s/ H. Lerma
                                                                                      Signature of Clerk or Deputy Clerk
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 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
